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                EXHIBIT 30
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                                                                                                     Mark Patterson
                                                                                                     Attorney at Law
                                                                                              mpatterson@mwe.com
                                                                                                   +1 214 295 8075


April 23, 2021

Kornbluth Texas, LLC                 VIA FED EX; CERTIFIED MAIL,
302 W. Bay Area Blvd.                RETURN RECEIPT REQUESTED; AND
Webster, Texas 77598                 FACSIMILE: (281) 335-6723
Attention: Cheryl Tyler

       DEMAND FOR PAYMENT AND NOTICE OF INTENT TO ACCELERATE

Re:    Matter:              Holiday Inn Webster
                            302 West Bay Area Boulevard
                            Webster, Texas 77598
       Loan Number:         M300571612
       Pool:                WFCM 2016-LC25

Dear Borrower:

This firm represents WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE
FOR THE BENEFIT OF THE REGISTERED HOLDERS OF WELLS FARGO
COMMERCIAL MORTGAGE TRUST 2016-LC25, COMMERCIAL MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2016-LC25 (“Holder”), acting by and through its
special servicer, LNR Partners, LLC (“Servicer”), in connection with the loan (the “Loan”)
evidenced by, inter alia, the documents and instruments described as follows:

       Promissory Note (the “Note”), dated as of October 21, 2016, executed by KORNBLUTH
       TEXAS, LLC, a Texas limited liability company (“Borrower”), payable to the order of
       RIALTO MORTGAGE FINANCE, LLC, a Delaware limited liability company
       (“Original Lender”), in the original stated principal amount of EIGHT MILLION
       THREE HUNDRED FIFTY THOUSAND AND NO/100 DOLLARS ($8,350,000.00);
       and

       Secured and/or evidenced by, among other documents, instruments and things, (i) that
       certain Deed of Trust, Assignment of Leases and Rents and Security Agreement (the
       “Deed of Trust”), dated as of October 21, 2016, executed by Borrower for the benefit of
       Original Lender, and covering the real and personal property more particularly described
       therein, commonly known as Holiday Inn Webster and described therein as being located
       at 302 Bay Area Boulevard, Webster, Texas (collectively, the “Property”), recorded on
       October 25, 2016, as Instrument Number RP-2016-481294, in the Official Public Records
       of Harris County, Texas (the “Records”); (ii) that certain Assignment of Leases and
       Rents (the “Assignment”), dated as of October 21, 2016, executed by Borrower for the
       benefit of Original Lender, recorded on October 25, 2016, as Instrument Number RP-
       2016-481295, in the Records; and (iii) that certain Loan Agreement (the “Loan
       Agreement”), dated as of October 25, 2016, executed by Borrower and Original Lender.


                              2501 North Harwood St Suite 1900 Dallas TX 75201 Tel +1 214 295 8000 Fax +1 972 232 3098

                              US practice conducted through McDermott Will & Emery LLP.
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         The Note, Deed of Trust, Assignment and Loan Agreement and all other documents and
         instruments securing and/or evidencing the Loan, as the same may have been amended,
         increased, renewed, extended, spread, consolidated, severed, restated or otherwise
         changed from time to time, are hereinafter, collectively, referred to as the “Loan
         Documents”. All capitalized terms used herein and not otherwise defined herein shall
         have the meanings set forth in the Loan Agreement.

The Note and the liens and security interests of the Deed of Trust and all other Loan Documents
were transferred and assigned to, and are currently held by, Holder.

This letter shall serve as notice to Borrower that Borrower is in default under the terms of the
Note and other Loan Documents in that, among other things, Borrower has failed to make the
Monthly Debt Service Payment Amounts that were due on the Payment Dates in December, 2020
and January through April, 2021 (herein, collectively, the “Payment Defaults”).

Borrower is further advised that, from a search of the UCC records of the Secretary of State of
Texas under Borrower’s name, Holder has received a copy of a certain UCC Financing Statement
that appears to have been filed on July 9, 2020. A copy of the UCC Financing Statement appears
as Annex A attached hereto. Such UCC Financing Statement appears to evidence other
indebtedness and the pledging and/or granting of liens against certain assets of Borrower to a
purportedly secured party (U.S. Small Business Administration) other than Holder, and such
would be prohibited and represent a breach of one or more of the covenants of Borrower under
the Loan Documents, including, without limitation, as a “Single Purpose Entity” (as such term is
defined in Schedule I of the Loan Agreement 1). Further, the definition of “Lien” set forth in
Section 1.1.1 of the Loan Agreement includes “any . . . security interest . . . on or affecting
Borrower, the Property, any portion thereof or any direct or indirect interest therein, including,
without limitation, . . . the filing of any financing statement . . .” (emphasis added). Such UCC
Financing Statement would also, if unauthorized, represent a “Transfer” in breach of Section
4.1.12(a) of the Loan Agreement (i.e., “grant a Lien on . . . the Property”) and, accordingly, an
Event of Default pursuant to Section 7.1(iv) of the Loan Agreement 2. Accordingly, and without

         1
            See, e.g., subparagraph (aa) of Schedule I of the Loan Agreement: “has not pledged and will not pledge
its assets for the benefit of any other Person.” Even if the collateral description in Item 4 of the UCC Financing
Statement was to describe other (or additional) “collateral”, see also subparagraph (c) of Schedule I of the Loan
Agreement that states that, as a Single Purpose Entity, Borrower “has not owned and will not own any assets other
than (i) the Property, [or] (ii) such incidental Personal Property as may be necessary for the operation of the
Property . . .” (emphasis added). The description in Item 4 of the UCC Financing Statement appears to cover “more
than mere incidental Personal Property” and, moreover, overlaps the description of the “Property” set forth in the
Deed of Trust as being the collateral securing, at least in part, repayment of the Loan. Finally, Section 7.1(iv) of the
Loan Agreement states that any breach of, inter alia, Section 8.5 (Borrower’s covenant to continue as a Single
Purpose Entity) shall represent an Event of Default.
          2
            Section 7.1(viii) also states that it shall be an Event of Default “if the Property becomes subject to any
Lien other than a lien for local real estate taxes and assessments not then delinquent and such Lien shall remain
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waiving any rights or remedies whatsoever under the Loan Documents, Holder hereby demands
copies of all agreements, as well as a detailed written explanation of the purposes and
circumstances surrounding, and a detailed explanation of the purportedly pledged collateral, as
evidenced by the attached UCC Financing Statement.

The foregoing is not meant to be an exhaustive list of all present defaults and/or Events of
Default of Borrower under the Loan Documents. Other Events of Default, or uncured defaults,
may also exist. These failures, as well as those referenced hereinabove (including, without
limitation, the Payment Defaults), continue and have not been waived by Holder and are referred
to herein, collectively, as the “Current Defaults”. Borrower is further advised of Holder’s
continuing expectation that Borrower strictly comply with all of the terms and conditions of the
Loan Documents and of Holder’s intent that it will exercise its rights and remedies under the
Loan Documents, including, without limitation, the remedies described in the following
paragraph.

On behalf of Holder, demand is hereby made for the immediate cure of the Current Defaults.
Borrower is hereby notified that, as a result of Borrower’s failure to make its full payment of all
amounts due and outstanding under the Loan Documents, the payments due for each have
commenced accruing interest at the Default Rate as set forth in and calculated under the Note
(and Loan Agreement), and each such payment shall continue to accrue interest at the Default
Rate until such payments are received by Servicer. Unless all Current Defaults are fully cured on
or before 12:00 Noon, Dallas, Texas time on Friday, May 14, 2021, Holder intends to and will
accelerate the maturity of the Note and declare the unpaid principal balance, accrued and
unpaid interest and all other amounts payable under the Loan Documents immediately due
and payable in their entirety. Borrower is hereby notified that it also owes any fees (including,
without limitation, legal fees) and costs incurred by Holder in connection with the Current
Defaults to the extent provided for in the Loan Documents and Holder reserves the right to
collect such amounts (as well as interest at the Default Rate and all late payment charges
calculated pursuant to Section 2.2.4 of the Loan Agreement [“Late Payment Charges”]) before
the Current Defaults may be considered cured. In addition to the foregoing, unless all Current
Defaults (and collection of all fees and costs, as well as interest due at the Default Rate, and all
Late Payment Charges) are fully cured, Holder intends to exercise any or all of the remedies
provided in the Loan Documents and/or at law or in equity, which remedies may include, without
limitation: (1) commencing non-judicial foreclosure proceedings pursuant to the power of sale
provisions under the Deed of Trust, (2) enforcing payment of the Note against Borrower and
each other person or entity obligated therefor, to the extent the Note is not a non-recourse
obligation or to the extent liability is not otherwise limited by contract, (3) exercising Holder’s
rights pursuant to Title 5, Chapter 64 of the Texas Property Code, as amended, and any

undischarged of record (by payment, bonding or otherwise) for a period of thirty (30) days after Borrower has first
received notice thereof (except where such Lien is being contested by Borrower in accordance with Section 4.1.12
hereof);”
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replacement statute with respect to the Leases and Rents (as each of the foregoing terms is
defined in the Deed of Trust and Assignment), and (4) commencing an action for the immediate
appointment of a receiver to, among other things, collect the Rents and other income from the
Property. Borrower may obtain a statement of the amounts currently due and payable under the
Loan Documents by contacting Mr. Scott Fishkind, Asset Manager, LNR Partners, LLC, 1601
Washington Avenue, Suite 700, Miami Beach, Florida 33139, telephone number (305) 695-5874,
fax number (305) 695-5601 and e-mail address sfishkind@lnrpartners.com.

Payment to Holder in an amount less than the total sums due, or any other partial cure of the
Current Defaults, should not be construed as an accord and satisfaction or as Holder’s agreement
to accept a lesser amount as payment in full of the total sums due or such partial cure. Holder’s
acceptance of any endorsement or statement on any check evidencing a payment or letter
accompanying a payment may not be deemed to be an accord and satisfaction. Holder may
accept any such payment or check without prejudice to its rights to receive the balance of all
amounts due under the Loan Documents or to pursue any remedy thereunder or at law or in
equity.

None of this notice, any past, prior or current discussions by Holder or its servicers (including
Servicer) with Borrower or its representatives, Holder’s acceptance of payment of less than the
full amount due and payable nor any other partial cure of the Current Defaults under the Loan
Documents, shall constitute (a) a waiver by Holder of any other default by Borrower under the
Loan Documents, whether or not referred to herein or in any prior notice of default, (b) a waiver
by Holder to collect any additional amounts or demand any other action to which Holder may be
lawfully entitled pursuant to the terms of the Loan Documents or otherwise at law or in equity,
(c) an election of remedies with respect to any such default by Holder, (d) a waiver, modification,
relinquishment or forbearance by Holder of any right or remedy under the Loan Documents or at
law or in equity, all of which are reserved by Holder, (e) a modification of any of the Loan
Documents, (f) a reinstatement of the Loan, or (g) an agreement by Holder to continue
discussions with Borrower or its counsel.

No modification of the Loan Documents and no other agreement or understanding of any nature
shall be deemed to have been entered into by or be binding on Holder unless and until Holder has
reached agreement on all issues, and such entire agreement shall have been reduced to a written
document that expressly states that it modifies the Loan Documents and is duly executed by
Holder, Borrower and any guarantor(s) of the Loan. Oral agreements, e-mails, memoranda of
meetings, summaries of proposed terms, etc. shall have no effect whatsoever and shall not be
binding on Holder.

No communication, written or oral, that Borrower has had or may have with Holder concerning
the obligations evidenced or secured by the Loan Documents, including any concerning a
modification or restructure of the Loan Documents or a forbearance in the exercise of any of
Holder’s remedies, in any way modifies this letter or constitutes consent to the non-payment or a
waiver of any of the remedies described herein. There are currently no forbearance,
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modification, renewal, extension or settlement agreements between Borrower and Holder with
regard to the Loan or the Loan Documents, and all proposals made by Borrower to Holder
relating to the foregoing are rejected.

The following language is set forth per requirement under Section 51.002(i) of the Texas
Property Code, and applicable if debtor qualifies under such Section:

ASSERT AND PROTECT YOUR RIGHTS AS A MEMBER OF THE ARMED FORCES
OF THE UNITED STATES. If you are or your spouse is serving on active military duty,
including active military duty as a member of the Texas National Guard or the National
Guard of another state or as a member of a reserve component of the armed forces of the
United States, please send written notice of the active duty military service to the sender of
this notice immediately.

To the extent that any of Borrower’s obligations have been discharged, dismissed, or are subject
to an automatic stay of a bankruptcy order under Title 11 of the United States Code, this notice is
for compliance and information purposes only, and does not constitute a demand for payment or
any attempt to collect any such obligation. To the extent applicable, this notice is given pursuant
to, and is intended to comply with, 11 U.S.C. § 362(b)(11). In addition, all of Holder’s claims,
demands and accruals with respect to the Loan Documents, whenever made, and whether for
principal, interest or otherwise, are intended to comply in all respects, both independently and
collectively, with all applicable usury laws, and are accordingly limited so that all applicable
usury laws are not violated.

Very truly yours,

MCDERMOTT WILL & EMERY LLP




By:
       Mark L. Patterson



cc:    Scott Fishkind (via email – sfishkind@lnrpartners.com)
       Massimo Fillichio (via email – MFillichio@lnrpartners.com)
       Heather Olson (via email – holson@starwood.com)
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                            FOR INFORMATIONAL PURPOSES ONLY



William Kornbluth, Guarantor         VIA FED EX; AND CERTIFIED MAIL,
57444 Bandera Road                   RETURN RECEIPT REQUESTED
Yucca Valley, California 92284

Cheryl Tyler Guarantor               VIA FED EX; AND CERTIFIED MAIL,
302 W. Bay Area Boulevard            RETURN RECEIPT REQUESTED
Webster, Texas 77598

Garvey Schubert Barer                VIA FED EX; CERTIFIED MAIL, RETURN
121 SW Morrison, 11th Floor          RECEIPT REQUESTED;
Portland, Oregon 97204-3141          AND FACSIMILE: (503) 226-0259
Attention: Joseph W. West, Esq.
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                              ANNEX A

                   UCC-1 FINANCING STATEMENT
